       Case 1-19-43516-ess            Doc 26       Filed 10/04/19   Entered 10/08/19 10:54:12




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re                                                                   Chapter 13

MICHAEL KRICHEVSKY,                                                     Case No. 19-43516-ess

                                    Debtor.
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ORDER DEEMING SCHEDULES AND STATEMENTS TIMELY AND CONVERTING
                   THE CASE TO CHAPTER 11

        WHEREAS, on June 6, 2019, Michael Krichevsky filed a petition for relief under

Chapter 13 of the Bankruptcy Code; and

        WHEREAS, the Debtor did not file Schedule A/B (Property) (Official Form 106A/B),

Schedule C (The Property You Claim as Exempt) (Official Form 106C), Schedule D (Creditors

Who Have Claims Secured By Property) (Official Form 106D), Schedule E/F (Creditors Who

Have Unsecured Claims) (Official Form 106E/F), Schedule G (Executory Contracts and

Unexpired Leases) (Official Form 106G), Schedule H (Your Codebtors) (Official Form 106H),

Schedule I (Your Income) (Official Form 106I), Schedule J (Your Expenses) (Official Form

106J), Declaration About an Individual Debtor's Schedules (Official Form 106Dec), Statement of

Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107), Chapter 13 Plan

(Signed by the Debtor), Chapter 13 Statement of Your Current Monthly Income and Calculation

of Commitment Period (Official Form 122C−1), Certificate of Credit Counseling or Motion

Requesting Exemption or Waiver, or Copies of Pay Statements received within 60 days of filing

from any employer or a statement indicating this requirement is not applicable (the “Schedules

and Statements”); and
     Case 1-19-43516-ess        Doc 26     Filed 10/04/19     Entered 10/08/19 10:54:12




       WHEREAS, pursuant to Bankruptcy Code Section 521(a)(1)(B) and Bankruptcy Rule

1007(c), the Debtor is required to file the Schedules and Statements within 14 days of the

Petition Date; and

       WHEREAS, on June 19, 2019, the Debtor filed a motion seeking an extension to file the

Schedules and Statements and to convert this Chapter 13 case to one under Chapter 11 (the

“Motion”); and

       WHEREAS, on September 10, 2019, the Debtor filed his Schedules and Statements; and

       WHEREAS, from time to time, and on September 10, 2019, the Court held hearings on

the Motion, at which the Debtor appeared and was heard.

       NOW, THEREFORE, it is hereby

       ORDERED, that the Schedules and Statements are deemed timely; and it is further

       ORDERED, that this case is converted from one under Chapter 13 to one under Chapter

11 pursuant to Bankruptcy Code Sections 1307(a) and 1307(g).




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 Dated: Brooklyn, New York                                             Elizabeth S. Stong
        October 4, 2019                                         United States Bankruptcy Judge

                                                2
      Case 1-19-43516-ess          Doc 26   Filed 10/04/19   Entered 10/08/19 10:54:12




TO:

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